                        UNITED STATES
                               STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


    NATHANIEL ROBINSON,

                  Plaintiff,
                  Plaintiff,

            v.
            V.                                             Case No.
                                                                No. l 7-CV-349

    KEVIN KREMBS,

                  Defendant.
                  Defendant.


                    AGREEMENT TO REIMBURSE PRO BONO
                                               BONO FUND


                              plaintiff in this case,
            I am the indigent plaintiff         case, and
                                                      and. in consideration of the Court

    recruiting a lawyer to represent me on a volunteer basis, I agree to reimburse the

                   Fro Bono Fund out of any proceeds II receive: (1)
    District Court Pro                                           (1) in settlement
                                                                        settlement of my

                       (2) upon prevailing other than by settlement
    claim or claims or (2)                               settlement of my claim or

            for any expenses and/or costs which are either prepaid from the District
    claims, for

    Court Pro Bono fund or incurred by my volunteer lawyers in accordance with the

                Governing the Prepayment and Reimbursement
    Regulations Governing                    Reimbursement of Expenses in Pro

    Bono Cases.



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